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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                      STATESBORO DIVISION




BENJAMIN BREWER, )

      Movant ,

v.    )      Case                     No . CV605-123
                                           [CR696-004]
UNITED STATES OF AMERICA,         )

      Respondent .

                               ORDER

      After a careful de novo review of the record in this case, the Cour t

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed . Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court .

      SO ORDERED this day of               c CAP         , 2006.




                                        UNITED STATES D TRICT JUDGE
                                        SOUTHERN DISTR T OF GEORGIA
